3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1   Page 1 of 29




                          UNITED STATES DISTRICT COURT
                          FOR DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

                ----------------------------x
                UNITED STATES OF AMERICA,   :
                ex rel, MICHAEL K.DRAKEFORD,:
                                            :
                           Plaintiff,       :
                                            :
                          v.                : No. 3:05-CV-2858-MIP
                                            :
                TUOMEY HEALTHCARE SYSTEMS, :
                INC.,                       :
                                            :
                           Defendant.       : Volume 2
                ----------------------------x

                                                     Washington, D.C.

                                           Tuesday, December 2, 2008

                Continued Deposition of

                                 KEVIN G. MCANANEY

                a witness, recalled for further examination by

                counsel for Defendant, pursuant to notice and

                agreement of counsel, continuing at approximately

                10:00 a.m., at the law offices of Patton Boggs,

                2445 M Street, NW., Washington, D.C., before

                Teague Gibson of Anderson Court Reporting, notary

                public in and for the District of Columbia, when

                were present on behalf of the respective parties:




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                                                                               2

          1     APPEARANCES:

          2         On behalf of Plaintiffs:

          3            G. NORMAN ACKER, III, ESQUIRE
                       United States Department of Justice
          4            Civil Division
                       601 D Street, NW., Room 9138
          5            Washington, D.C. 20004
                       (202) 307-0474
          6
                    On behalf of Defendant:
          7
                       A. CAMDEN LEWIS, ESQUIRE
          8            Lewis & Babcock
                       P.O. Box 11208
          9            Columbia, South Carolina 11208
                       (803) 771-8000
         10

         11                         *      *   *   *   *

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3:05-cv-02858-MBS    Date Filed 07/31/09       Entry Number 299-1   Page 3 of 29




                                                                               3

          1                        C O N T E N T S

          2     EXAMINATION BY:                                      PAGE

          3         Counsel for Defendant                               4

          4         Counsel for Plaintiff                              20

          5     FURTHER EXAMINATION BY:

          6     Counsel for Defendant                                  25

          7     DEPOSITION EXHIBITS:

          8     No. 1 - Representation Letter                           6

          9

         10

         11                         *      *   *   *   *

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                                                                            4

          1                     P R O C E E D I N G S

          2     Whereupon,

          3                         KEVIN G. MCANANEY

          4     was recalled as a witness and, having been

          5     previously duly sworn, was examined and testified

          6     further as follows:

          7               EXAMINATION BY COUNSEL FOR DEFENDANT

          8               CONTINUED

          9               BY MR. LEWIS:

         10          Q       Give us your name, please.

         11          A       Kevin McAnaney.

         12          Q       Is it all right if I call you Kevin?

         13          A       Yes.

         14          Q       This is a continuation of a prior time

         15     we were here for your deposition.       Do you

         16     understand that?

         17          A       Yes.

         18          Q       And as such, I understand that you had

         19     no contact with any lawyers, except for a

         20     paralegal in making corrections or making

         21     additions to the prior transcript of your earlier

         22     portion of this deposition; is that correct?



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1   Page 5 of 29




                                                                          5

          1          A    That is correct.

          2          Q    And no one's talked to you or called you

          3     other than to schedule or something like that?

          4          A    That's correct.

          5          Q    One thing when you answer a question,

          6     I'm going to assume you understood the question?

          7          A    Yes.

          8          Q    If you don't understand the question,

          9     ask me to clarify it and I will attempt to do so.

         10     If I cut you off it'll be by mistake and you just

         11     tell me I've cut you off and I'll let you answer

         12     because I don't mean to, I just get excited.     If

         13     I'm doing something you don't like, you say, Cam,

         14     I don't like what you're doing and I will attempt

         15     to stop doing that?

         16          A    Okay.

         17          Q    Is that fair?

         18          A    That's fair.

         19          Q    We were here last time and it turned out

         20     that you were engaged by two parties, that is Mr.

         21     Drakeford and Tuomey Hospital in a joint

         22     representation; is that correct?



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                                                                            6

          1          A    That's correct.

          2          Q    And looking at Exhibit Number 1.

          3                      (Deposition Exhibit No. 1 was

          4                      marked for identification.)

          5               BY MR. LEWIS:

          6          Q    Would be your joint representation

          7     letter; is that correct?

          8          A    Yes.

          9          Q    And I believe --

         10               MR. ACKER:      Excuse me, Cam.   Is this a

         11     new exhibit?     Are you starting the numbering over?

         12                  MR. LEWIS:   Yes, I am.

         13               MR. ACKER:      I just want to clarify for

         14     the record that we had this continuation of the

         15     deposition and we had Deposition Exhibit 1 and 2

         16     previously, so can we somehow differentiate this?

         17               MR. LEWIS:      This will be Defendant's

         18     Exhibit 1.

         19               MR. ACKER:      Thank you.

         20               BY MR. LEWIS:

         21          Q    I believe you described your

         22     representation as you were a tie breaker?



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1   Page 7 of 29




                                                                           7

          1          A    Yes.

          2          Q    And as a tie breaker there must have

          3     been a difference of opinion between the two

          4     people, tie breaker one had one position, the

          5     other one had another position and you were going

          6     to try to bring them together?

          7          A    Well, I wouldn't say I was supposed to

          8     bring them together as a mediator.     I was supposed

          9     to give them my opinion.

         10          Q    Your assessment?

         11          A    My assessment, yes.

         12          Q    They were going to have your assessment

         13     because they couldn't agree?

         14          A    That's how I understood it.

         15          Q    And when they hired you they jointly

         16     hired you?

         17          A    Yes.

         18          Q       And they jointly hired you to give them

         19     an assessment over a question upon which they

         20     could not agree?

         21          A    Or they had differences.     I don't know

         22     whether they couldn't agree or not exactly, but



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1     Page 8 of 29




                                                                            8

          1     they clearly had different views.

          2          Q      And they hired you to help them with --

          3     assess those positions?

          4          A      I guess they did.

          5          Q      You were given certain information to

          6     look at with reference to your engagement, were

          7     you not?

          8          A      Yes, I was.

          9          Q      You were given a contract that Dr.

         10     Drakeford was asked to sign?

         11          A      I actually can't recall exactly what I

         12     was given now.   I produced what I was given.

         13          Q      You produced one contract.   Did you see

         14     any other contract?

         15          A      Not if that's all that was there.

         16          Q      Did you ever see the mission of the

         17     hospital?

         18          A      Not if it wasn't in those exhibits.

         19          Q      Did you ever see any billings of the

         20     doctors that were going to be under these

         21     contracts to see how much they billed?

         22          A      Only if they may have been in the



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                                                                          9

          1     evaluations, they may have given some RVUs.    I

          2     don't know.    I can't recall.

          3          Q     Are billings and RVUs the same thing?

          4          A     No, they may have had billings in there

          5     as well.

          6          Q     But you don't know?

          7          A     I can't recall.

          8          Q     You don't know if you looked at those or

          9     didn't look at them?

         10          A     Well, if they were in the valuations I

         11     would have.

         12          Q     Here today, you made an assessment.     Did

         13     you make an assessment using any billings or not?

         14          A     I made an assessment looking at the

         15     valuations.

         16          Q     The valuations, that is the CEJKA

         17     evaluations?

         18          A     Yes, in part, yup.

         19          Q     Anything other than -- did you look at

         20     other than the CEJKA evaluations?

         21          A     No, just the information they provided

         22     me and my general knowledge of the laws.



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1    Page 10 of 29




                                                                          10

          1          Q     All I'm asking is what information

          2     specific to this case did you look at.     Did you

          3     look at anything other than the CEJKA information?

          4          A     Yes.

          5          Q     What?

          6          A     I looked at whatever documents were

          7     provided to me by the parties.

          8          Q     Do you have those with you?

          9          A     No, I didn't bring them with me.     I

         10     thought they would be here?

         11          Q     We are under the impression that Exhibit

         12     Number 1 to the last deposition, Deposition

         13     Exhibit 1, was your file and what you were

         14     furnished was contained in there?

         15          A     Yes, that looks to be the file.

         16          Q     Were you given any billings?

         17          A     Well, I don't know that I was directly,

         18     although the valuations included what they were

         19     making in their current practice verse what they

         20     would make under the proposal, so to that extent

         21     it included billings.

         22          Q     Billings are different than collections?



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3:05-cv-02858-MBS   Date Filed 07/31/09     Entry Number 299-1   Page 11 of 29




                                                                           11

          1          A      I understand that.

          2          Q      I want to know if you had anything in

          3     there that showed what they billed?

          4          A      I will look.     I don't see anything, only

          5     collections.

          6          Q      Only collections.     So we can, from our

          7     little examination, we can find that you did not

          8     look at billings, correct?

          9          A      Correct.

         10          Q      Now, look at what the doctors in Sumter

         11     actually made and monies, how much they got paid

         12     and how much did they make a year, is that --

         13          A       Indirectly in the valuations they had

         14     what they were making, what their practices were

         15     making compared to what they would make under the

         16     projected.

         17          Q      Them who?     How many of them?

         18          A      The ones that were given to me as

         19     examples.    This is the opinion.    These are for the

         20     three.   These is for Dr. Drakeford, Dr. Ford and

         21     Dr. Stroebel.

         22          Q      Anybody else?



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3:05-cv-02858-MBS     Date Filed 07/31/09     Entry Number 299-1   Page 12 of 29




                                                                             12

          1            A     Dr. Tate.      And then they had another, I

          2     believe there were other valuations they had given

          3     me.    I don't think so.      I thought there were, but

          4     I don't see them.

          5            Q     There were what?

          6            A     I thought there were some similar things

          7     for some other physicians that we used as

          8     examples.

          9            Q     There weren't?

         10            A     Okay.

         11            Q     You only looked at Dr. Drakeford's

         12     practice and what they furnished you about Dr.

         13     Drakeford, isn't that true, in his practice and

         14     his partners; isn't that right?

         15            A     As I said, I can't recall.      I don't see

         16     it here flipping through.         I thought there was

         17     actually some other -- another practice that they

         18     showed me that I was not to share.

         19            Q     You didn't -- it's not in your documents

         20     that you say was your file?

         21            A     I don't see it.      It's sort of hard to

         22     flip through.



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1   Page 13 of 29




                                                                         13

          1          Q      I want you to look.   Take all the time

          2     you want.    I want you to find me where you say

          3     that you saw some other practice, because we

          4     hadn't found it?

          5          A      Okay.   No.

          6          Q      No what?

          7          A       No, I did not look at -- I didn't have

          8     any other billing information other than -- or

          9     collection information, practice information,

         10     other than for the Drakeford practice.

         11          Q      You had no billing information for them

         12     and you only had collecting information for the

         13     Drakeford practice, right?

         14          A      Yes.

         15          Q      And you only looked at -- that was one

         16     specialty, right, they were orthopaedic surgeons;

         17     is that what they were?

         18          A      Yes.

         19          Q      So you looked at no other specialty?

         20          A       No.

         21          Q      And they did not sign a contract, do you

         22     know that?



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1   Page 14 of 29




                                                                          14

          1          A     I think I do.

          2          Q     And so it's fair to state that you

          3     looked at no contract that was signed?

          4          A     I think that's correct.

          5          Q     Did you ever hear the term patient mix?

          6          A     Yes.

          7          Q     Did you look at the patient mix of

          8     Drakeford's group?

          9          A     No.

         10          Q     Did you look at the patient mix of any

         11     group?

         12          A     No.

         13          Q     Do you know what charity cases are?

         14          A     Yes.

         15          Q     Did you look at the charity cases that

         16     the doctors would do?

         17          A     No.

         18          Q     Not Drakeford or anybody else?

         19          A     No.

         20          Q     Did you look and see how many different

         21     specialty groups, like how many orthopaedic

         22     surgeon groups, how many general surgery -- how



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1   Page 15 of 29




                                                                         15

          1     many different groups were in Sumter?

          2            A   No.

          3            Q   Did you look to see what would happen

          4     if, say, the thoracic surgeons would withdraw from

          5     Tuomey Hospital?

          6            A   I don't understand that question.

          7            Q   Let's say they didn't want to work there

          8     anymore and they left, what would happen to Tuomey

          9     Hospital if they had no thoracic surgeons?     Do you

         10     know what happened?

         11            A   No.

         12            Q   You don't know what happened to Tuomey

         13     Hospital if they lost some of these doctors, do

         14     you?

         15            A   No.

         16            Q   Do you know what tri-care is?

         17            A   Yes.

         18            Q   Do you know how much tri-care Tuomey

         19     Hospital does?

         20            A   No.

         21            Q   Do you know if tri-care's important to

         22     the area because of Shaw Air Force Base?



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3:05-cv-02858-MBS     Date Filed 07/31/09   Entry Number 299-1   Page 16 of 29




                                                                           16

          1            A     It could be.

          2            Q     Did you look at that?

          3            A     No.

          4            Q     I think you communicated with Mr. Smith

          5     and Mr. Houston; is that right?

          6            A     Yes.

          7            Q     Nobody else?

          8            A     No, not that I recall.    I don't believe

          9     so.

         10            Q     And what I think your assessment, as I

         11     read your assessment, I want to make sure I got

         12     that down because that's what we're here for, your

         13     assessment.     You said that what you saw in that

         14     little group of documents, Exhibit Number 1, to

         15     the government would raise questions?

         16            A     Yes.

         17            Q     And another place you said was raise

         18     concerns, the government would look at, it might

         19     raise concerns with the government?

         20            A     Yes.

         21            Q     And another time you said that it would

         22     raise a red flag, but of course that doesn't end



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1   Page 17 of 29




                                                                          17

          1     the matter?

          2          A     Correct.

          3          Q     And so the sum total of what you told

          4     them in your assessment was that the government

          5     might look askew at these arrangement that you

          6     were given in the one contract for the one

          7     specialty?

          8          A     That's correct.

          9          Q     And that was the end of your assignment?

         10          A       That's correct.

         11          Q       You also said that you don't opine on

         12     the fair market value of a question?

         13          A       That's correct.

         14          Q       And you call them -- those are what they

         15     call valuation consultants?

         16          A       I think so.

         17          Q       That's what I think, too.   We know that

         18     that's what we're talking about now, that those

         19     are the valuation consultants.     Have you heard of

         20     the Pinnacle Health Care Group valuation that do

         21     those valuations?

         22          A       I may have.   It doesn't ring a bell.



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1   Page 18 of 29




                                                                          18

          1          Q     How about Home, LLC?

          2          A     I don't think I've ever heard them, no.

          3          Q     How about Health Care Appraisers,

          4     Incorporated?

          5          A     That sounds familiar.

          6          Q     How about Clark Consulting?

          7          A     That also sounds familiar.

          8          Q     How about Integrated Health Care

          9     Strategies?

         10          A     Yes.

         11          Q     The Well Springs Group?

         12          A     Yes.

         13          Q     How about Moore Gates, or Gates Moore?

         14          A     Doesn't ring a bell.

         15          Q     How about Valuation Management Group?

         16          A     Perhaps, they all sort of sound the

         17     same.

         18          Q     That's right.    But you did specifically

         19     say you knew the Wells Spring Group and the

         20     Integrated Health Care Strategies?

         21          A     Yes.

         22          Q     Are those two groups okay as far as you



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                                                                           19

          1     know?

          2            A     As far as I know.

          3            Q     And then the other ones, I guess,

          4     Pinnacle Health Care Group you don't know whether

          5     they're good or bad because you don't remember

          6     hearing of them?

          7            A     I think I've seen the name.    I don't

          8     know that I've ever come across their work.

          9            Q     So you don't know whether -- you heard

         10     nothing bad about them anyway, right?

         11            A     No.

         12            Q     Or Home, LLC you just had never heard

         13     of?

         14            A     Correct.

         15            Q     And the Health Care Appraisers, Inc. you

         16     hadn't heard anything bad about them?

         17            A     Correct.

         18            Q     And Moore Gates or Gates Moore you never

         19     heard of?

         20            A     Yes.

         21            Q     And the Valuation Management Group you

         22     just never heard anything bad about them, you just



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3:05-cv-02858-MBS   Date Filed 07/31/09      Entry Number 299-1   Page 20 of 29




                                                                            20

          1     don't remember?

          2          A     I don't think so.      I'm not sure I've

          3     heard the name or not.

          4                MR. LEWIS:     Can I take a break a minute?

          5                       (Recess)

          6                MR. LEWIS:     Norman, got any questions?

          7                MR. ACKER:     Are you done?

          8                MR. LEWIS:     Yeah.

          9                MR. ACKER:     Yeah.

         10                       (Recess)

         11                EXAMINATION BY COUNSEL FOR PLAINTIFF

         12                BY MR. ACKER:

         13          Q     Mr. McAnaney, as Mr. Lewis pointed out,

         14     this is a continuation of the deposition that was

         15     taken earlier.     Do you recall the initial part of

         16     this deposition?

         17          A     Yes.

         18          Q     And you were shown a few minutes ago

         19     Exhibit 1 from that earlier part of the deposition

         20     and you looked through it quickly to see if you

         21     could find reference to any other physicians that

         22     you had reviewed their billing or collection



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3:05-cv-02858-MBS   Date Filed 07/31/09      Entry Number 299-1   Page 21 of 29




                                                                            21

          1     records for?

          2          A     Yes.

          3          Q     Let me draw your attention to pages

          4     006-123 through 006-127 of the McAnaney Deposition

          5     Exhibit 1?

          6          A     Yes.

          7          Q     See if this -- take your time in looking

          8     through that and see if that refreshes your

          9     recollection about any other physicians that you

         10     looked at?

         11          A       Yes, that's the document to which I had

         12     thought I had seen, but when I reviewed it it

         13     doesn't have detailed billing information.

         14          Q       But this does give you some indication

         15     that there were other physicians with whom Tuomey

         16     had proposed or actual part-time employment

         17     agreements other than the orthopaedics?

         18                  MR. LEWIS:   Object to the form.

         19                  THE WITNESS:    Yes, I knew there were

         20     other contracts.

         21                  BY MR. ACKER:

         22          Q       You spoke to Mr. Smith and Mr. Houston



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1    Page 22 of 29




                                                                           22

          1     on June 22nd of 2005; is that correct?

          2          A     I need to review my time sheet.      Yes.

          3          Q     And after you gave your assessment or

          4     your opinion about Dr. Drakeford's proposed

          5     contract, did Tuomey ever ask you to give any

          6     opinions about any other of the contracts?

          7                MR. LEWIS:     Object to the form.

          8                THE WITNESS:     No.

          9                BY MR. ACKER:

         10          Q     Mr. Lewis asked you a series of

         11     questions a few minutes ago about what information

         12     you did not have when you gave your opinion.       Did

         13     Tuomey have the right to give you anything it

         14     considered important?

         15                MR. LEWIS:     Object to the form.

         16                THE WITNESS:     Yes.

         17                BY MR. ACKER:

         18          Q     And did you receive information from

         19     Tuomey?

         20          A     Yes.

         21          Q     And did Tuomey ever tell you they didn't

         22     think you had all the necessary information to



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1     Page 23 of 29




                                                                            23

          1     make your assessment?

          2                MR. LEWIS:     Object to the form.

          3                THE WITNESS:     Not that I recall.

          4                BY MR. ACKER:

          5          Q     So to your knowledge, did Tuomey give

          6     you everything that it considered important?

          7                MR. LEWIS:     Object to the form.    You

          8     have no idea what Tuomey thinks.

          9                THE WITNESS:     I believe so.

         10                BY MR. ACKER:

         11          Q     After the June 22nd, 2005 conference

         12     call that you had with Mr. Houston and Mr. Smith,

         13     did Tuomey ever come back and say here's more

         14     information that we want you to have?

         15                MR. LEWIS:     Object to the form.

         16                THE WITNESS:     No.

         17                BY MR. ACKER:

         18          Q     Did they ever give you any more

         19     information after June 22nd?

         20          A     Well, I think we had a subsequent phone

         21     call about the joint venture arrangement.

         22          Q     That was on June 23rd?



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3:05-cv-02858-MBS   Date Filed 07/31/09    Entry Number 299-1   Page 24 of 29




                                                                          24

          1          A     June 23rd.     I think after that I didn't

          2     have any further substantive conversation.

          3          Q     Did you ever receive a request from

          4     anyone to put your opinion in writing?

          5                MR. LEWIS:     Object to the form.

          6                THE WITNESS:     I can't recall if I was

          7     specifically asked to put it in -- I do recall a

          8     conversation, I believe, with Greg Smith that

          9     indicated that the Tuomey board might want

         10     something in writing.

         11                BY MR. ACKER:

         12          Q     And did you put your opinion in writing?

         13                MR. LEWIS:     Object to the form.

         14                THE WITNESS:     No.

         15                BY MR. ACKER:

         16          Q     And why not?

         17          A     Because I was subsequently contacted by

         18     Tim Houston and told not to put anything in

         19     writing without his agreement and they did not

         20     agree.   I forget exactly, sent me a letter I

         21     believe.

         22          Q     What, if anything, did Tim Houston tell



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3:05-cv-02858-MBS   Date Filed 07/31/09     Entry Number 299-1   Page 25 of 29




                                                                           25

          1     you as to the reason why you should not put your

          2     opinion in writing?

          3          A      He didn't.

          4                 MR. ACKER:    I have no other questions.

          5                 MR. LEWIS:    I just have one follow-up

          6     question.

          7                 FURTHER EXAMINATION BY COUNSEL FOR

          8                 DEFENDANT

          9                 BY MR. LEWIS:

         10          Q      Over my objection, the government keeps

         11     saying your opinion, but you specifically said you

         12     were not to give your -- to opine but to give an

         13     assessment?

         14          A      Right.   I was not giving -- I was never

         15     asked and specifically not to give an opinion as

         16     to the legality of the arrangement.

         17          Q      You were -- it was an assessment?

         18          A      It was an assessment.

         19                 MR. LEWIS:    That's all I wanted.   Thank

         20     you very much.    Nothing further.

         21                      (Whereupon, at 10:45 a.m., the

         22                      deposition of KEVIN G. MCANANEY was



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3:05-cv-02858-MBS   Date Filed 07/31/09       Entry Number 299-1   Page 26 of 29




                                                                             26

          1                     adjourned.)

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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1      Page 27 of 29




                                                                            27

          1            ERRATA SHEET FOR THE DEPOSITION OF

          2                   __________________________

          3     Case Name: ______________________________________

          4                          CORRECTIONS

          5     Pg1.   Ln.   Now Reads    Should Read       Reasons:

          6     _____ _____________ ______________ _______________

          7     _____ _____________ ______________ _______________

          8     _____ _____________ ______________ _______________

          9     _____ _____________ ______________ _______________

         10     _____ _____________ ______________ _______________

         11     _____ _____________ ______________ _______________

         12     _____ _____________ ______________ _______________

         13     _____ _____________ ______________ _______________

         14     _____ _____________ ______________ _______________

         15     _____ _____________ ______________ _______________

         16     _____ _____________ ______________ _______________

         17     _____ _____________ ______________ _______________

         18     _____ _____________ ______________ _______________

         19     _____ _____________ ______________ _______________

         20     _____ _____________ ______________ _______________

         21         Reviewed by:                          Date:

         22     ________________________________        _______________



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3:05-cv-02858-MBS   Date Filed 07/31/09   Entry Number 299-1     Page 28 of 29




                                                                           28

          1                To the Witness:

          2                Please note any errors and the

          3     corrections thereof, on this errata sheet.       Any

          4     change or correction should have a reason.     It may

          5     be a general reason, such as "To correct

          6     stenographic error," or "To clarify the record,"

          7     or "To conform with the facts."    Once you have

          8     completed the sheet, signed and dated it, return

          9     the sheet to your attorney, not to the court

         10     reporting agency.    Attorneys should exchange

         11     errata sheets among the parties.

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3:05-cv-02858-MBS     Date Filed 07/31/09   Entry Number 299-1   Page 29 of 29




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          1                   CERTIFICATE OF NOTARY PUBLIC

          2

          3         I, Carleton J.   Anderson, III do hereby certify

          4     that the forgoing electronic file when originally

          5     transmitted was reduced to text at my direction;

          6     that said transcript is a true record of the

          7     proceedings therein referenced; that I am neither

          8     counsel for, related to, nor employed by any of

          9     the parties to the action in which these

         10     proceedings were taken; and, furthermore, that I

         11     am neither a relative or employee of any attorney

         12     or counsel employed by the parties hereto, nor

         13     financially or otherwise interested in the outcome

         14     of this action.

         15                   /s/Carleton J.   Anderson, III

         16                   Notary Public # 351998

         17                   in and for the Commonwealth of Virginia

         18     My Commission Expires:      November 30, 2008

         19

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         21

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